
Jason Christopher Yoder, Attorney at Law.
Tiffany Y. Lucas, Assistant Attorney General.
G. Glenn Gerding, Attorney at Law.
John F. Carella, Staff Attorney.
Ivy Johnson, Attorney at Law.
N. Lorrin Freeman, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 10th of July 2019 by North Carolina Advocates for Justice for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 11th of July 2019."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
